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   1   DANIEL M. PETROCELLI (S.B. #97802)
   2
       dpetrocelli@omm.com
       MEGAN K. SMITH (S.B. #307381)
   3   megansmith@omm.com
       1999 Avenue of the Stars, 8th Floor
   4   Los Angeles, California 90067-6035
   5   Telephone: +1 310 246 8574
       Facsimile: +1 310 246 6779
   6

   7
       ERIC AMDURSKY (S.B. #180288)
       eamdursky@omm.com
   8   2765 Sand Hill Road
       Menlo Park, California 94025-7019
   9   Telephone: +1 650 473 2644
  10   Facsimile: +1 650 473 2601
  11   O’MELVENY & MYERS LLP
  12
       Attorneys for Defendant Garth Brooks

  13
                          UNITED STATES DISTRICT COURT
  14
                        CENTRAL DISTRICT OF CALIFORNIA
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  16
       JANE ROE,                                   Case No. _____________________
  17
                         Plaintiff,                 DEFENDANT GARTH BROOKS’
  18                                                NOTICE OF REMOVAL
             v.
  19                                                Case removed from Los Angeles
       GARTH BROOKS,                                Superior Court (Case No.
  20                                                24STCV25693)
                         Defendant.
  21                                                Complaint Filed: October 3, 2024
                                                    Removal Date: November 1, 2024
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                         DEFENDANT GARTH BROOKS’ NOTICE OF REMOVAL
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   1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT
   2   FOR THE CENTRAL DISTRICT OF CALIFORNIA, AND TO ALL
   3   PARTIES AND THEIR COUNSEL OF RECORD:
   4         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. sections 1332(a),
   5   1441, and 1446, Defendant Garth Brooks (“Defendant”), by and through his
   6   undersigned counsel, hereby removes this action brought by plaintiff Jane Roe
   7   (“Plaintiff”) from the Superior Court of the State of California for the County of
   8   Los Angeles to the United States District Court for the Central District of California
   9   on the basis of diversity of citizenship jurisdiction. Defendant states the following
  10   grounds for removal:
  11   I.    PROCEDURAL BACKGROUND AND TIMELINESS OF REMOVAL
  12         1.     On October 3, 2024, Plaintiff filed a complaint against Defendant in
  13   the Superior Court of the State of California for the County of Los Angeles,
  14   captioned Jane Roe v. Garth Brooks (Case No. 24STCV25693) (the “Superior
  15   Court Action”).
  16         2.     Plaintiff has not yet served Defendant. Defendant has not yet
  17   responded to the Complaint and has not appeared in the Superior Court Action.
  18   This Notice of Removal is timely because it is filed within thirty (30) days after the
  19   receipt by Defendant, through service or otherwise, of a copy of the initial pleading
  20   setting forth the claim for relief upon which the Superior Court Action is based. See
  21   28 U.S.C. § 1446(b)(1).
  22         3.     Pursuant to 28 U.S.C. § 1446(a), Defendant has attached as Exhibit A
  23   true and correct copies of the Superior Court Action Summons and Complaint. No
  24   process, pleadings, or order have been served on Defendant.
  25         4.     In the Superior Court Action, Plaintiff alleges the following six
  26   purported causes of action: (1) assault, (2) battery, (3) sexual battery (Civ. Code §
  27   1708.5), (4) Bane Act (Civ. Code § 52.1), (5) Ralph Act (Civ. Code § 51.7), and (6)
  28   Gender Violence (Civ. Code § 52.4(c)(2)). See Ex. A ¶¶ 114-50.
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   1          5.    In the Superior Court Action, Plaintiff seeks monetary and/or
   2   compensatory damages, punitive and exemplary damages, attorney’s fees and
   3   penalties, and costs. See id. at 26.
   4   II.    NO ADMISSION
   5          6.    Defendant denies any liability in the Superior Court Action, denies the
   6   allegations in the Complaint, and denies that Plaintiff has sufficiently stated any
   7   plausible claim upon which relief can be granted. Defendant further reserves all
   8   rights to assert any additional defenses and counterclaims, including the right to
   9   challenge personal jurisdiction or venue.
  10   III.   JURISDICTION AND BASIS FOR REMOVAL
  11          7.    As set forth below, pursuant to 28 U.S.C. § 1332(a), this Court has
  12   original jurisdiction over the causes of action alleged in the Superior Court Action
  13   because there is complete diversity of citizenship and the amount in controversy
  14   exceeds $75,000, exclusive of interest and costs.
  15          Diversity of Citizenship is Satisfied.
  16          8.    Plaintiff is a citizen of Mississippi. Ex. A ¶ 34.
  17          9.    Defendant is a citizen of Tennessee. Id. ¶ 35.
  18          10.   Because Plaintiff and Defendant are citizens of different states, the
  19   diversity requirement of 28 U.S.C. § 1332(a)(1) is satisfied.
  20          The Amount-In-Controversy Requirement Is Satisfied.
  21          11.   Plaintiff seeks punitive and compensatory damages for alleged
  22   personal injuries. Ex. A at 124.
  23          12.   Without conceding that Plaintiff is entitled to damages or can recover
  24   damages in any amount whatsoever, on information and belief, the amount in
  25   controversy in this case, including potential counterclaims, exceeds the sum or
  26   value of $75,000, as required by 28 U.S.C. § 1332(a).
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   1   IV.   OTHER PROCEDURAL REQUIREMENTS FOR REMOVAL
   2         13.    Venue Is Proper for Removal. Plaintiff filed this action in the Superior
   3   Court of the State of California for the County of Los Angeles, and thus Plaintiff
   4   alleges venue is proper in Los Angeles. This action is thus properly removed to the
   5   United States District Court for the Central District of California, which embraces
   6   Los Angeles County within its jurisdiction. See 28 U.S.C. §§ 84(c)(2), 1441(a),
   7   1446(a).
   8         14.    Notice to the Superior Court. Pursuant to 28 U.S.C. §1446(d), a copy
   9   of this Notice of Removal is being filed with the Clerk of the Superior Court of the
  10   State of California for the County of Los Angeles, and will be served upon Plaintiff.
  11   V.    CONCLUSION
  12         For the reasons stated above, this action is within this Court’s original
  13   jurisdiction and meets all the requirements for removal, such that removal is proper
  14   under 28 U.S.C. sections 1332, 1441, and 1446. Accordingly, Defendant
  15   respectfully removes this action from the Superior Court of the State of California
  16   for the County of Los Angeles to the United States District Court for the Central
  17   District of California.
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  21   Dated: November 1, 2024                     O’MELVENY & MYERS LLP
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  23                                               By: /s/ Megan K. Smith
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                                                      Megan K. Smith

  25                                               Attorneys for Defendant Garth Brooks
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                           DEFENDANT GARTH BROOKS’ NOTICE OF REMOVAL
